 2:14-bk-15687 Doc#: 418 Filed: 05/13/16 Entered: 05/13/16 12:13:53 Page 1 of 3



                      IN THE UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  HELENA DIVISION


Re:    Turner Grain Merchandising, Inc., Debtor                          Case No. 2:14-bk-15687J
                                                                                        Chapter 7
                                                                        Converted from Chapter 11

                    APPLICATION TO HIRE RICE & ASSOCIATES, P. A.
                          AS ATTORNEYS FOR THE ESTATE

       Applicant, M. Randy Rice, requests authority to retain Rice & Associates, P. A. to act as

attorney(s) for this estate and respectfully alleges:

       1.      Applicant is the duly qualified and acting trustee in this case.

       2.      Applicant requires the assistance of counsel for the following purposes:

               a.      Examining records of debtor to determine whether
                       there are fraudulent conveyances or preferential
                       payments actions that the estate may be entitled to
                       pursue.

               b.      Examining claims filed by creditors to determine
                       whether objections should be filed.

               c.      Examining records to determine whether the estate
                       has other legal remedies that may be pursued against
                       insiders, etc.

               d.      Preparation and filing of all legal documents that may
                       be required on behalf of estate.

               e.      Preparation and filing of any or all motions,
                       responses, or other legal pleadings that may be
                       required on behalf of estate.

               f.      Legal representation of the estate on any bankruptcy
                       related issues that may be set for trial before this
                       Court.

               g.      Handling other legal matters that may develop in
                       regards to this case as this case proceeds.

       3.      It is in the best interest of this estate and its economical administration for Rice &

Associates, P. A. to be retained as attorney(s) for the estate.
 2:14-bk-15687 Doc#: 418 Filed: 05/13/16 Entered: 05/13/16 12:13:53 Page 2 of 3



4.     The Court has the power to authorize said employment pursuant to 11 U.S.C. § 327(d) which

reads as follows:

                       "the court may authorize the trustee to act as attorney
                       or accountant for the estate if such authorization is in
                       the best interest of the estate."

       5.      Applicant is an attorney at law duly admitted to practice before this Court and other
necessary federal courts in this jurisdiction.
       6.      Based upon the Affidavit attached hereto, applicant believes that Rice & Associates,
P.A., and its members and associates, do not hold or represent any interest adverse to that of your
applicant or the bankruptcy estate and that said Law Firm is a disinterested person within the
meaning of 11 U.S.C. § 101(14). It is further contemplated that said Law Firm will seek interim
compensation as permitted by 11 U.S.C. § 331. The normal hourly billing rates of said Law Firm
at the time of this Application are as follows:
                       Name                                       Billing Rate
               M. Randy Rice, Attorney                         $ 315.00 per hour
               Hamilton M. Mitchell, Attorney                    150.00 per hour
       7.      Services will be provided by the parties listed above at the stated rates. These rates
are subject to periodic adjustments to reflect economic and other conditions, and to reflect increased
experience and expertise in this area of the law.* The billing rate of any other associate attorney(s)
will be determined at a later date. However, said rate will be less than that of M. Randy Rice.
       WHEREFORE, applicant prays that Rice & Associates P. A. be authorized to act as
attorney(s) for the estate with compensation for such legal services to be paid as an administrative
expense in such amounts as this court may hereafter determine and allow.
       DATE            May 13, 2016
                                                 Respectfully Submitted;
                                                 /s/ M. Randy Rice, Attorney
                                                 523 S. Louisiana, #300
                                                 Little Rock, AR 72201




       *
        Rice & Associates, P.A., increases the hourly rate charged by each attorney by $10.00
per hour January 1st of each year.
 2:14-bk-15687 Doc#: 418 Filed: 05/13/16 Entered: 05/13/16 12:13:53 Page 3 of 3



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Re:     Turner Grain Merchandising, Inc., Debtor                             Case No. 2:14-bk-15687J
                                                                                            Chapter 7
                                                                            Converted from Chapter 11


                            AFFIDAVIT OF DISINTERESTEDNESS

        I, M. Randy Rice of Rice & Associates, P. A., after having been solemnly sworn, do hereby
verify and state as follows:

        1.      That I am an attorney, duly licensed to practice law in the State of Arkansas.

       2.     That Rice & Associates and I are disinterested persons within the meaning of 11
U.S.C. § 101 (14).

        3.      That neither I, nor Rice & Associates, P. A., have any prior connection with the
debtor in this particular case or any of the creditors or any other party in interest, or their respective
attorneys of record except that I serve as Trustee in this case pursuant to appointment by the United
States Trustee.

        4.     To date, I have been paid nothing in connection with this matter. I further state that
I have received no transfer, assignment or transfer of property from the debtors or from this estate.

       5.      I have not shared or agreed to share said fee with any other person except the
professional association of Rice & Associates, P. A.

                DATE            May 13, 2016

                                                /s/ M. Randy Rice, Trustee
                                                523 S. Louisiana, #300
                                                Little Rock, AR 72201

STATE OF ARKANSAS )
                  )SS
COUNTY OF PULASKI )

        Subscribed and sworn to before me, a Notary Public, on today’s date.

                                                    /s/ Donna J. Poullos May 13, 2016
                                                         NOTARY PUBLIC

My Commission Expires:             July 11, 2016
